        Case 1:16-cv-00186-MHC Document 23 Filed 07/01/16 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 DONALD DORSEY,

              Plaintiff,
                                          CIVIL ACTION NO.
 v.
                                          1:16-CV-00186-MHC
 EASY T.V. & APPLIANCE
 RENTAL OF GEORGIA, INC.

              Defendant.


  JOINT MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT
          AND DISMISSAL OF CASE WITH PREJUDICE
      COME NOW Plaintiff Donald Dorsey and Defendant Easy T.V. &

Appliance Rental of Georgia, Inc. (collectively, the “Parties”), by and through their

undersigned counsel, and jointly move that the Court approve the Parties’

settlement in accordance with applicable law and dismiss this matter, with

prejudice.   In support of this Motion, the Parties submit the accompanying

Memorandum of Law and incorporate it herein by reference.

      WHEREFORE, the Parties respectfully request the Court grant this Motion

and enter the Proposed Order: (1) approving the Parties’ settlement; (2) dismissing

this action with prejudice; and (3) retaining jurisdiction over this case to enforce

the Parties’ Settlement Agreement.
        Case 1:16-cv-00186-MHC Document 23 Filed 07/01/16 Page 2 of 3




      Respectfully submitted this 1st day of July, 2016.


/s/ Benjamin Stark                           /s/ Shannon R. Creasy
Benjamin Stark                               Bradley E. Strawn
Georgia Bar No. 601867                       Georgia Bar No. 004419
bstark@justiceatwork.com                     bstrawn@littler.com
BARRETT & FARAHANY, LLP                      Shannon R. Creasy
1100 Peachtree Street N.E.                   Georgia Bar No. 228358
Suite 500                                    screasy@littler.com
Atlanta, GA 30309                            LITTLER MENDELSON, P.C.
Telephone: 404.214.0120                      3344 Peachtree Road N.E.
Facsimile: 404.214.0125                      Suite 1500
                                             Atlanta, GA 30326.4803
Attorney for Plaintiff                       Telephone: 404.233.0330
                                             Facsimile: 404.233.2361

                                             Attorneys for Defendant
                                             Easy T.V. & Appliance Rental of
                                             Georgia, Inc.




                                         2
        Case 1:16-cv-00186-MHC Document 23 Filed 07/01/16 Page 3 of 3




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 DONALD DORSEY,

              Plaintiff,
                                           CIVIL ACTION NO.
 v.
                                           1:16-CV-00186-MHC
 EASY T.V. & APPLIANCE
 RENATL OF GEORGIA, INC.,

              Defendant.
                            CERTIFICATE OF SERVICE

      I hereby certify that on this 1st day of July, 2016, this JOINT MOTION

FOR APPROVAL OF SETTLEMENT AGREEMENT AND DISMISSAL OF

CASE WITH PREJUDICE was submitted to the Clerk using the CM/ECF

system which will send notification of such filing to Plaintiff’s counsel of record as

follows:

                                     Benjamin Stark
                            BARRETT & FARAHANY, LLP
                           1100 Peachtree Street NE, Suite 500
                                   Atlanta, GA 30309
                               bstark@justiceatwork.com



                                         /s/ Shannon R. Creasy
                                         Shannon R. Creasy
                                         Georgia Bar No. 228358
